OJS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)
                       Case 1:20-mj-02398-MBB Document 3-3 Filed 06/11/20 Page 1 of 2
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                            Category No.       II                   Investigating Agency         FBI

City       Natick                                     Related Case Information:

County         Middlesex                              Superseding Ind./ Inf.                         Case No.
                                                      Same Defendant                            New Defendant X
                                                      Magistrate Judge Case Number            20-MJ-2398
                                                      Search Warrant Case Number            19-MJ-2438 to 2441
                                                      R 20/R 40 from District of

Defendant Information:

Defendant Name           James Baugh                                              Juvenile:               G Yes G
                                                                                                                ✔ No

                         Is this person an attorney and/or a member of any state/federal bar:             G      Yes ✔
                                                                                                                     G No
Alias Name
                                             San Jose, California
Address                   (City & State)
                      1974                3402        M                           Caucasian
                                                                           Race: ___________         Nationality: ____________________
Birth date (Yr only): _____ SSN (last4#):________ Sex _____

Defense Counsel if known:                   William Fick, Esq.                       Address     24 Federal Street, 4th Floor

Bar Number                                                                                       Boston, Massachusetts 02110

U.S. Attorney Information:

AUSA          Seth B. Kosto, David J. D'Addio                             Bar Number if applicable

Interpreter:              G Yes          ✔ No
                                         G                     List language and/or dialect:

Victims:                  GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                          ✔                                                                                       ✔ Yes
                                                                                                                  G         9 No

Matter to be SEALED:                    G Yes
                                        ✔            G     No

          G✔ Warrant Requested                           G Regular Process                      G In Custody

Location Status:

Arrest Date

G Already in Federal Custody as of                                                     in                                       .
G Already in State Custody at                                            G Serving Sentence             G Awaiting Trial
G On Pretrial Release: Ordered by:                                                       on

Charging Document:                       ✔ Complaint
                                         G                           G Information                   G Indictment
                                                                                                                    2
Total # of Counts:                       G Petty                     G Misdemeanor                   G Felony
                                                                                                     ✔

                                              Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     6/11/2020                               Signature of AUSA:
                       Case 1:20-mj-02398-MBB Document 3-3 Filed 06/11/20 Page 2 of 2
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                James Baugh

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged                Count Numbers
                                                     Conspiracy to commit cyberstalking in violation of 18
Set 1     18 USC 371                                 USC 2261A                                                1

                                                     Conspiracy to commit witness tampering in violation of
Set 2     18 USC 371                                 18 USC 1512(b)(3)                                        2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
